                 Case 2:12-cr-00060-TLN Document 43 Filed 12/06/12 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
1    ATTORNEY AT LAW
2
     1111 H Street, # 204
     Sacramento, CA. 95814
3    (916) 444-3994
     Fax (916) 447-0931
4

5
     Attorney for Defendant
     NAZHMUDIN RUSTAMOV
6
                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8

9    UNITED STATES OF AMERICA,                        )       No. 2:12-cr-00060 MCE
                                                      )
                                                      )
10             Plaintiff,                             )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       ORDER
12
     SHCHIRSKIY, et al.,                              )
                                                      )       Date: January 24, 2013
13
                                                      )       Time: 9:00 a.m.
               Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
14
                                                      )
                                                      )
15
                                                      )
16
               The United States of America through its undersigned counsel, Lee Bickley, Assistant
17
     United States Attorney, together with counsel for defendant Anton Tkachev, Chris Haydn-Myer,
18

19   Esq., and counsel for defendant Nazhmudin Rustamov, John R. Manning, Esq., hereby stipulate

20   the following:
21
          1. By previous order, this matter was set for status conference on December 6, 2012.
22
          2. By this stipulation, defendants now move to continue the status conference until January
23

24
     24, 2013 and to exclude time between December 6, 2012 and January 24, 2013 under the Local

25   Code T-4 (to allow defense counsel time to prepare).
26
          3.   The parties agree and stipulate, and request the Court find the following:
27
               a. This case includes over 1,500 pages of discovery and three co-defendants.
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                 Case 2:12-cr-00060-TLN Document 43 Filed 12/06/12 Page 2 of 3


            b.    Counsel for the defendants need additional time to review the discovery and conduct
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2                investigation.

3           c. Counsel for defendants believe the failure to grant a continuance in this case would
4
                 deny defense counsel reasonable time necessary for effective preparation, taking into
5
                 account the exercise of due diligence.
6

7
            d. The Government does not object to the continuance.

8           e. Based on the above-stated findings, the ends of justice served by granting the
9                requested continuance outweigh the best interests of the public and the defendants in
10
                 a speedy trial within the original date prescribed by the Speedy Trial Act.
11
            f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
12

13               Section 3161(h)(7)(A) within which trial must commence, the time period of

14               December 6, 2012 to January 24, 2013, inclusive, is deemed excludable pursuant to
15
                 18 United States Code Section 3161(h)(7)(A) and (B)(iv), corresponding to Local
16
                 Code T-4 because it results from a continuance granted by the Court at defendant’s
17
                 request on the basis of the Court’s finding that the ends of justice served by taking
18

19               such action outweigh the best interest of the public and the defendant in a speedy

20               trial.
21
       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
22
            Speedy Trial Act dictate that additional time periods are excludable from the period within
23

24
            which a trial must commence.

25
     IT IS SO STIPULATED.
26
     Dated: November 27, 2012                                      /s/ Chris Haydn-Myer
27                                                                 CHRIS HAYDN-MYER
28
                                                                   Attorney for Defendant
                                                                   Anton Tkachev


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                              Case 2:12-cr-00060-TLN Document 43 Filed 12/06/12 Page 3 of 3



1
     Dated: November 27, 2012                                            /s/ John R. Manning
2                                                                       JOHN R. MANNING
                                                                        Attorney for Defendant
3                                                                       Nazhmudin Rustamov
4

5
     Dated: November 27, 2012                                           Benjamin B. Wagner
6                                                                       United States Attorney
7
                                                                        by:/s/ Lee Bickley
8                                                                       LEE BICKLEY
                                                                        Assistant U.S. Attorney
9

10
                                                      ORDER
11                          IT IS SO FOUND AND ORDERED. The status conference is continued to January 24,
12   2013, at 9 a.m. The time period between December 6, 2012 and January 24, 2013 is excluded
13   under the Local Code T-4 for the reasons stated in the parties’ stipulation.
14   Dated: December 6, 2012

15                                                      __________________________________
                                                        MORRISON C. ENGLAND, JR
16
     DEAC_Signatu re-END:
                                                        UNITED STATES DISTRICT JUDGE
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